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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

DOUGLAS J. HORN, et al.,

oo Decision and Order
Plaintiffs, &

Final Pretrial Order

 

 

Vv.

15-CV-701-JWF
MEDICAL MARIJUANA, INC., et al.,

Defendants.

 

PRELIMINARY STATEMENT

 

Before the Court are two motions in limine, one filed by
defendants Medical Marijuana, Inc. (“MMI”) and Red Dice Holdings,
LLC (“RDH”), and the other by Dixie Holdings, LLC (“Dixie LLC”).
Docket ## 141, 142. The parties are advised that “[a]though the
Federal Rules of Evidence do not explicitly authorize in limine
rulings, the practice has developed pursuant to the district
court’s inherent authority to manage the course of trials.” Luce
v. United States, 469 U.S. 38, 41 n.4 (1984) (citations omitted).
The parties have no inherent right to an in limine ruling and such
rulings are viewed as a preliminary opinion given to allow the
parties to formulate their trial strategy and allow the Court to
manage the trial in the most efficient way possible. See Highland

Capital Mgmt., L.P. v. Schneider, 551 F. Supp. 2d 173, 176

 

(S.D.N.Y. 2008). “The trial court is not bound by an in limine

ruling and can change its determination during the trial where
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sufficient facts have developed to warrant the change or even if

nothing unexpected happens at trial. Bar’s Prods., Inc. v. Bar's

 

Prods. Int’l, Ltd., No. 10-CV-14321, 2014 WL 1922764, at *1 (E.D.

 

Mich. May 14, 2014). Accordingly, this Decision and Order
constitutes a preliminary determination of the in limine motions
filed and is subject to change at the Court’s discretion.

In addition, the Court has included within this Decision a
Final Pretrial Order setting forth the relevant dates and deadlines

related to the upcoming jury trial.

DISCUSSION

Defendants’ motions in limine largely overlap and will be
considered together. Defendants request that the Court exclude a
number of plaintiffs’ exhibits from evidence and prohibit
plaintiffs from introducing evidence related to several topics.
See Docket ## 141, 142. The following represents my preliminary
determination with respect to each exhibit/topic.

1. Testimony or Evidence Related to Cindy  Horn’s
Claims/Damages: At oral argument, plaintiffs’ counsel stated that
they did not oppose defendants’ request to preclude any evidence
or testimony relevant to plaintiff Cindy Horn’s claims or damages.
Accordingly, plaintiffs shall not seek to admit such evidence or

elicit such testimony.
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2. Screenshots of Two “Frequently Asked Questions” Webpages

 

(Pl. Ex. 2): Defendants’ request is denied to the extent it is
premised on plaintiffs’ failure to disclose the exhibit during
discovery. Given the nature and scope of discovery that did occur,
any such failure is harmless under Rule 37(c)(1). The Court will
not issue an advance ruling on defendants’ arguments concerning
authentication, attribution, or relevance, but will rule on any
evidentiary objection made at trial.

3. Three YouTube Videos (Pl. Ex. 3): At oral argument,

 

plaintiffs’ counsel did not oppose defendants’ motion to preclude
the third YouTube video dated June 19, 2013. The Court grants the
motion to that extent. As to the other two videos, the Court
rejects defendants’ argument on nondisclosure and concludes that,
based on the nature and scope of discovery that did occur, any
such nondisclosure was harmless under Rule 37(c) (1). Like the
“FAQ's”, the Court will not issue an advance evidentiary ruling on
defendants’ arguments concerning authentication, attribution, or
relevance, but will rule on any evidentiary objection made at
trial.

4. Press Release Dated May 2, 2012 (Pl. Ex. 4): Defendants’

 

motion to preclude is granted as to Plaintiffs’ Exhibit 4 based on
plaintiffs’ failure to disclose the exhibit during discovery.

Unlike Exhibits 2 and 3, neither Douglas nor Cindy sufficiently
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identified the press release during the depositions so as to render
any failure to disclose harmless. Furthermore, at oral argument,
plaintiffs’ counsel did not articulate a substantial justification
for the failure to disclose. Given the untimely disclosure and
prejudice to defendants, it is appropriate to preclude the exhibit
from trial pursuant to Rule 37(c) (1).

5. Clinical Reference Laboratory Test Results (Pl. Ex. 7):

 

Defendants object to the admission of the results of Douglas Horn’s
urine testing on grounds of hearsay, authentication, and failure
to disclose an expert under Rule 26. The dispute over this exhibit
requires the Court to consider the interplay between the admission
of records of a regularly conducted activity under Rule 803(6) and
the requirements for the admission and disclosure of expert
testimony under Rule 702 and Rule 26(a) (2) (A).

Rule 803(6) excepts from the rule against hearsay the records
of a regularly conducted activity, which may include the record of
an “opinion” or “diagnosis.” As the Advisory Committee Notes
indicate, the purpose of the rule is to dispense with the
burdensome production of witnesses to support the admission of
records which, by their nature, have an unusually high level of
reliability. Fed. R. Evid. 803 Advisory Comm. Notes; see also
Parker v. Reda, 327 F.3d 211, 214-15 (2d Cir. 2003). Moreover,

the rule was intended to encompass records that are “in the form

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of opinions,” including, but not limited to, medical opinions and
diagnoses. Fed. R. Evid. 803 Advisory Comm. Notes; Dell Publ’g
Co. v. Whedon, 577 F. Supp. 1459, 1464 n.5 (S.D.N.Y. 1984) (stating
that “Rule 803(6) was drafted expressly to cover recorded

opinions”); see, e.g., United States v. Feliz, 467 F.3d 227, 236-

 

37 (2d Cir. 2006) (autopsy reports qualified as business records) ;

United States v. Baker, 855 F.2d 1353, 1359 (8th Cir. 1988) (“When

 

made on a routine basis, laboratory analyses of controlled
substances are admissible as business records.”).

Thus, if the Court were to focus narrowly on the logic and
purpose of Rule 803(6), it would have no trouble concluding that
urine-test results are admissible: the test results include a
Signed, notarized affidavit from David Kuntz, who avers that (1)
he is the Executive Director of the laboratory which conducted the
testing; (2) he has personal knowledge of the facts contained in
the affidavit; (3) the test results are kept in the regular course
of laboratory’s business; (4) it was within the regular course of
its business for an employee with knowledge to make the record and
transmit the information to be included in the record; and (5) the
record was made at or near the time of the event in question. [In
addition, defendants have not developed any argument to challenge
the conclusion that the Kuntz affidavit renders the test results

self-authenticating under Rule 902(11). See Fed. R. Evid. 902(11)

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(no extrinsic evidence of authenticity is necessary to admit “[t]he
original or a copy of a domestic record that meets the requirements
of Rule 803(6)(A)-(C), as shown by a certification of the
custodian”).

The foregoing does end the discussion, for Rule 702 sets forth
independent requirements for the admission of expert testimony “in
the form of an opinion.” Fed. R. Evid. 702. The question raised
here is whether the proponent of opinion evidence contained within
a business record must also satisfy Rule 702’s requirements before
the opinion can be admitted. On the one hand, a reasonable
argument can be made that Rule 803(6) merely exempts business
records from the rule against hearsay, and other rules of evidence

may render a business record inadmissible. See Forward Comm’ns

 

Corp. v. United States, 608 F.2d 485, 510 (Ct. Cl. 1979) (“Nothing

 

in Rule 803 says that [the business record] may not be excluded by
some other rule.”). There are considerations that favor that
argument. Rule 702 serves an important gatekeeping function and
ensures that only reliable, helpful expert testimony comes before
the factfinder. See Fed. R. Evid. 702 Advisory Comm. Notes. Those
interests are important regardless of whether the expert opinion

is in the form of a record or live testimony. See Forward Comm’ns,

 

608 F.2d at 510. There is also a degree of unfairness to the

opposing party with a broader interpretation of Rule 803(6). As
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one court wrote, “The troublesome aspect of such a procedure is
that it is totally unfair to an opposing party adversely affected
by the opinion. [The party opposing the evidence] would have no
opportunity to cross-examine the expert on [] his/her
qualifications; the facts on which the opinion was based; the
reasoning behind the opinion; and alternative theories, reasons,

and facts.” Bruneau v. Borden, Inc., 644 F. Supp. 894, 896 (D.

 

Conn. 1986). That unfairness is exacerbated by the fact that,
during discovery, an expert need only be identified as such if the
party “may use [the expert] at trial to present evidence under

Federal Rule of Evidence 702, 703, or 705." Fed. R. Civ. P.

 

26 (a) (2) (A) (emphasis added).

On the other hand, it is evident from the Advisory Committee
Notes that the very purpose of Rule 803(6) is to relieve parties
of the burden of producing unnecessary witnesses, including in the
case of witnesses who provided medical diagnoses or test results
in the course of a regularly conducted activity. See Fed. R. Evid.
803 Advisory Comm. Notes. Rigid adherence to Rule 702 would thus
defeat the reform efforts at the heart of Rule 803(6). See id.
And while Rule 702 certainly protects important interests, it is
not necessary to interpret Rule 803(6) to undermine those
interests. That is, the Court need not construe the rule as an

unrestricted vehicle through which to admit opinion evidence.
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To be admissible, a business record must satisfy the
requirements of Rule 803(6) (A)-(C), but it may nonetheless be
excluded if the “source of [the] information or the method or
circumstances of preparation indicate a lack of trustworthiness.”
Fed. R. Evid. 803(6)(E). For example, the record cannot have been
created “for personal purposes or in anticipation of litigation,”

United States v. Kaiser, 609 F.3d 556, 574 (2d Cir. 2010) (internal

 

brackets, quotation marks, and ellipsis omitted), and courts have
the authority to exclude opinions contained in records where their

origin or reliability is in doubt. See, e.g., United States v.

 

Licavoli, 604 F.2d 613, 622-23 (9th Cir. 1979) (“[T]he trial judge,
in the exercise of his or her discretion, [may] exclude from
evidence a record of the opinion of an expert whose qualifications

are seriously challenged.”); Petrocelli v. Gallison, 679 F.2d 286,

 

289-90 (ist Cir. 1982) (exclusion of diagnosis proper where it
was unclear whether it reflect medical judgment of doctor or the
subjective report of patient). Thus, much like Rule 702, these
requirements serve to ensure that only reliable, useful opinions
are presented to the factfinder.

For these reasons, the Court concludes that an opinion
properly admitted under Rule 803(6) does not necessarily need to
satisfy the strictures of Rule 702. This is the majority view.

See Licavoli, 604 F.2d at 622 (“We see no reason to adopt an
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inflexible rule that every case requires the proponent of a
business record containing expert opinion to affirmatively
establish the qualifications of the person forming the opinion.”) ;

Sosna v. Binnington, 321 F.3d 742, 747 (8th Cir. 2003) (affirming

 

admission of business record containing expert opinions of

pathologist); Shelton v. Consumer Prods. Safety Comm’n, 277 F.3d

 

998, 1009 n.8 (8th Cir. 2002) (concluding that, because laboratory
reports were admissible under Rule 803(6), it was not necessary to
reach opponent’s alternative argument that reports did not meet

the requirements of Rule 702); Aumand v. Dartmouth Hitchcock Med.

 

Ctr., 611 F. Supp. 2d 78, 85 (D.N.H. 2009) (“[M]ost authorities
take the view that a party offering a document admissible as a
report of regularly conducted activity under Rule 803(6)
need not also show, under Rule 702, the qualifications of the
document’s author to render any opinions in the report.” (internal
quotation marks omitted)); 2 McCormick on Evid. § 287 n.11 (8th
ed.). By extension, a party seeking to admit a business record
that contains an opinion need not identify the person who made the
opinion as a formal expert under Rule 26(a)(2) (A), as that
provision only applies to a “witness [the party] may use at trial
to present evidence under Federal Rule of Evidence 702.”

As the Court stated above, the urine-test results meet the

requirements of Rule 803(6) and are self-authenticating under Rule

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902(11). Nowhere in their briefing do defendants meaningfully
contradict those conclusions. Nor have defendants articulated any
reason why the results are untrustworthy; their own expert
acknowledged that the laboratory in question was qualified to test
urine samples and that she had “no reason to question” the results.
Docket # 61-8 at 200-01. Moreover, the opinions expressed in
test result report were obtained and processed in the regular
course of business of plaintiff's former employer, the laboratory
(CRL) had no reason to falsify the test results, the testing was
not requested for purposes of this or any other litigation and
plaintiff’s former employer relied on and trusted the laboratory
result. The report meets the requirements of Rule 803(6) and
902(11), and under the particular facts present here, need not
satisfy the independent requirements of Rule 702, including the
expert identification requirements under Rule 26(a)(2) (A). See,

e.g., Garrett v. City of Tupelo, Mississippi, No. 1:16-CV-197-DMB-

 

DAS, 2018 WL 2994808, at *3 (N.D. Miss. June 14, 2018) (medical
opinion contained in a business record need not satisfy the
independent requirements of Rule 702). Defendants’ objections on
hearsay, authentication, and nondisclosure grounds are therefore

overruled.1!

 

1 To the extent defendants argue that the jury will be unable to understand and
interpret the test results, Docket # 171 at 1, the Court does not share their
concern. Both sides’ experts have reviewed the results and will be able to
contextualize and explain them to the jury.

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6. EMSL Report (Pl. Ex. 8): Defendants primarily object to

 

the admission of the EMSL Report on the basis that plaintiffs
failed to disclose an expert who could provide the necessary
foundation for the report. Plaintiffs argue that, notwithstanding
the failure to disclose an expert, the report can be admitted under
Rule 803(6). See Docket # 172 at 2-3. The Court concludes that
the report is not admissible under Rule 803(6).

As discussed in the preceding section, a business record may
be deemed inadmissible if the source of the information or the
method or circumstances of preparation “indicate a lack of
trustworthiness.” Fed. R. Evid. 803(6) (E). This determination
“necessarily depends on the circumstances,” and cannot be reduced
to any categorical formulation or test. Fed. R. Evid. 803 Advisory
Comm. Notes (“The formulation of specific terms which would assure
Satisfactory results in all cases is not possible.”).

In light of the circumstances surrounding the EMSL report,
the Court is not convinced that the opinion contained therein bears
the hallmarks of unusual reliability that would justify admission
under Rule 803(6)(E) and dispensing with the requirements of Rule
702 and Rule 26(a)(2) (A). This is not a case where the opinion
was procured and created wholly free from the taint of anticipated
litigation. The evidence suggests that, around the time Douglas

Horn ordered the test from EMSL, he was contemplating litigation

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against the makers of Dixie X.? Although there is no indication
that EMSL - the actual maker of the record - was contemplating
litigation when it created the report, Douglas Horn, who procured

the test and provided the sample, was. C£. Pace v. Nat’l R-.R.

 

Passenger Corp., 291 F. Supp. 2d 93, 102-03 (D. Conn. 2003)
(independent medical examination of plaintiff, which was conducted
“in connection with pending litigation,” may “present a question
of trustworthiness”). Accordingly, the transaction between
Douglas and EMSL is not the type of situation in which reliability
can be as readily assumed. See 2 McCormick on Evid. § 288 n.32
(8th ed.) (“[W]here the only function that the report serves is to
assist in litigation or its preparation, many of the normal checks

upon the accuracy of business records are not operative. Reliance

 

2 At his deposition, Douglas stated that, apart from the bottle he sent to EMSL,
he also ordered various other Dixie X products after his positive drug test.
See Docket # 61-5 at 245-47. He testified:

Q. And you ordered those [additional products] because you wanted to
make a case against Dixie?

A. I was going to have them tested.

Q. Did you think that would help build your case against Dixie?

A. Yep.

Id. at 247. Similarly, in his emails to EMSL, Douglas discusses “false
advertising” and the possible illegality of Dixie X. See Pl. Ex. 9. This
evidence undercuts Plaintiffs’ present claim that Douglas obtained the testing
from EMSL simply to challenge his termination. See Docket # 172 at 3.

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upon the report’s accuracy in the day-to-day operation of the
business is significant.”).

In addition, plaintiffs’ conduct during this litigation has
insulated the report from meaningful scrutiny. Despite believing
this to be “crucial” evidence, Docket # 172 at 1n.1, plaintiffs
did not identify the testing lab technician as an expert and did
not disclose an affidavit from a custodian until October 2020 —
more than one year after summary judgment litigation. See Docket
# 151-5. They offer no justification for these decisions. Under
these circumstances, it would be unfair to defendants to allow
plaintiffs to skirt Rules 702 and 26(a) (2) (A). While the Court
has determined that Rule 803(6) may permit parties to avoid Rule
702 in some circumstances, it is also mindful that this exception
should not be construed too broadly. See Bruneau, 644 F. Supp. at
896. For these reasons, Plaintiffs’ Exhibit 8 is not admissible
under Rule 803(6).

To the extent plaintiffs seek to disclose the report through
Dr. Graham under Rule 703, the Court will not make an advance
ruling on that issue. However, the Court notes that evidence
disclosed under Rule 703 may not be used for substantive purposes.

See United States v. Pablo, 696 F.3d 1280, 1288 (10th Cir. 2012)

 

(“{[T]he disclosure of this otherwise inadmissible information is

to assist the jury in evaluating the expert’s opinion, not to prove

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the substantive truth of the otherwise inadmissible
information.”); Fed. R. Evid. 703 Advisory Comm. Notes.
7. Emails Between EMSL and Douglas Horn (Pl. Ex. 9): The

 

Court will not issue an advance ruling on defendants’ arguments
concerning hearsay and improper bolstering but will rule on any
evidentiary objection made at trial.

8. CannLabs Certificates of Analysis (Pl. Ex. 10): Defendants

 

argue that the CannLabs certificates are inadmissible on hearsay,
relevance, and authentication grounds. However, defendants’
arguments concerning this exhibit are inconsistent with their own
representations to the Court during this litigation. At summary
judgment, defendants affirmatively represented that, before
plaintiffs’ purchase, CannLabs was retained to perform testing on
Dixie X and that such testing revealed the presence of THC.3
Although the CannLabs certificates are dated after plaintiffs’
purchase, defendants themselves relied on those certificates as

exemplars of the testing performed and results received before

 

3 See Docket # 61-12 44 8, 13 (stating that testing was done “at various stages
of production” and that “fa]ny public statement made by or on behalf of RDH
during and before the fall of 2012 regarding the THC content of the product at
issue was made pursuant to the testing of the product performed by CannLabs”) ;
Docket # 61-14 at 25 (citing the CannLabs certificates and stating that “the
product at issue, when tested during its development and manufacturing stages,
contained THC content well below the state and federal limit of 0.3%”); Docket
# 62-4 9 15 (“Testing of Dixie X was done at various stages of production to
ensure compliance with state and federal laws . .. . Examples of copies of
the certificates of testing . . . are annexed hereto . . . CannlLabs
certificates merely confirmed the THC and CBD levels we believed the products
already contained.”).

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plaintiffs’ purchase. See note 3, supra. Similarly, defense
counsel and defendant-employees affirmatively represented that the
CannLabs certificates which plaintiffs seek to admit are what they
purport to be.* See Fed. R. Evid. 901.

The Court need not address the import of defendants’ prior,

affirmative representations at this time. See, e.g., Guadagno v.

 

Wallack Ader Levithan Assocs., 950 F. Supp. 1258, 1261 (S.D.N.Y.

 

1997) (discussing judicial and evidentiary admissions). Rather,
the Court declines to issue an advance ruling on this exhibit.
As it stands, defendants articulate no reason why plaintiffs could
not call a defendant-employee, like Michelle Sides or Chuck Smith,°
to provide the necessary foundation for the admission of the
certificates as business records under Rule 803(6). See United

States v. Jakobetz, 955 F.2d 786, 801 (2d Cir. 1992) (“Even if the

 

document is originally created by another entity, its creator need
not testify when the document has been incorporated into the
business records of the testifying entity.”).

9, Expert Report of Kenneth Graham (Pl. Ex. 13): Defendants’

 

motion is granted insofar as it seeks to preclude the admission of

Dr. Graham’s expert report. See Granite Partners, L.P. v. Merrill

 

 

4 See Docket # 62-3 § 16 (Affidavit of Jean-Claude Mazzola); Docket # 62-2 § 8
(Affidavit of Chuck Smith); Docket # 61-2 4 16 (Affidavit of Roy Mura); Docket
# 61-12 4 8 (Affidavit of Michelle Sides).

5 Plaintiffs did not list either Sides or Smith on their previous witness list,
but because the Court is issuing a new pretrial order, that list is not binding.

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Lynch, Pierce, Fenner & Smith Inc., No. 96-CV-7874, 2002 WL 826956,

 

at *7 (S.D.N.Y. May 1, 2002) (collecting cases and agreeing that
“where an expert is expected to testify at trial, her report is
inadmissible hearsay and redundant”). To the extent defendants
object to any opinions about which Dr. Graham may testify, they
may raise those objections at trial.

10. Expert Report of Mark Zaporowski (Pl. Ex. 14):

 

Defendants’ motion is granted to the extent it seeks to preclude
the admission of Dr. Zaporowski’s expert report. See id. This
ruling does not preclude plaintiffs from moving to admit any charts
or tables, should they wish to do so. To the extent defendants
move to preclude any of Dr. Zaporowski's expected testimony, they
may raise those objections at trial (except as discussed below).

11. Second Scenario of Mark Zaporowski: Defendants’ motion

 

is granted insofar as it seeks to preclude Dr. Zaporowski from
testifying about a previously undisclosed “second scenario” for
calculating Douglas Horn’s damages. Plaintiffs did not disclose
this new opinion until after the close of discovery and dispositive
motion practice, and their claimed reason for the changes was to
“refresh Mr. Horn’s claim due to the passage of time and trial
being imminent.” See Docket # 172 at 6. This is not a valid

reason. Preclusion is appropriate given the late disclosure, the

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absence of justification, the scope of the “refreshed opinion”,

the proximity to trial, and the resulting prejudice to defendants.

CONCLUSION
For the reasons stated above, defendants’ motions in limine
(Docket # 141, 142) are granted in part and denied in part, as set

forth herein.

FINAL PRETRIAL ORDER

 

This case is hereby ordered for trial beginning on July
26, 2021 at the Buffalo Courthouse, 2 Niagara Square, Buffalo, NY
14202. Jurors will arrive at 9:30 A.M. and jury selection will
commence at 10:00 A.M. Once a jury has been selected, we will
proceed immediately with opening statements and presentation of
testimony. This is a day-certain trial date which will not be
adjourned. The parties have advised that trial is expected to

last approximately two weeks.

Pretrial Conference:

A pretrial conference is scheduled for June 29, 2021 at 10

A.M. at the Rochester Courthouse, 100 State Street, Rochester, NY

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14614. Unless excused by the Court, the attorneys who will try
the case must be present at the pretrial conference.

The Court recognizes that the parties already submitted
some trial materials when the case was last scheduled for trial,
but given the length of time since the parties’ filings and the
present decision on the motions in limine, the Court orders each
side to provide all of the materials listed below, even if they
have previously been filed. To the extent possible, the Court
requests that copies of documents provided to the court be three-
hole-punched for insertion into a notebook. The Court requests
that two copies of the materials described below be submitted.
Unless otherwise noted, all listed materials shall be filed and

provided to the Court no later than 5 P.M. on June 15, 2021.

A. Voir Dire Material:

 

Each party must prepare a document entitled "Voir Dire
Information" containing the following material:

1. A short description of the case to be read to the jury
to identify the case and the claims and defenses at issue.

2. The full name and address of the client. Include here
the name of any corporate representative that intends to appear at

trial for the client.

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3. The full name and address of counsel, including
assistants.
4. A list of prospective witnesses that are expected to

be called at trial, including adverse party witnesses. A copy of
this list must be provided to the court reporter at the
commencement of trial. Also list here witnesses that you intend
to introduce by reading depositions. Indicate that the witness
will be a "deposition witness." (If there is an individual who
will not be a witness, but who will otherwise be referred to at
trial, please disclose the name of the individual so that
appropriate voir dire can be conducted.).

For proper identification to the jury and for use by the
Court, this list, which must be on a separate sheet of paper,
should include:

(i) The full name of the witness.

(ii) The occupational association of the witness,
e.g., FBI, Eastman Kodak Company, Delta Laboratories, etc.

(iil) The address of witness.

(iv) A short summary statement (one or _ two
sentences) of the general subject matter expected to be covered by
the witness.

5. The Court will conduct some voir dire and has many

standard questions that it asks of every prospective panel. After

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the Court is finished counsel will be permitted to question the
jury. If there are questions or a particular topic that a party
would rather the Court to question the jury about, counsel should

submit those questions or identify the topic for the Court.

B. Exhibits and Exhibit List:

Bach party must prepare an exhibit list containing
those exhibits that the party anticipates introducing in its direct
case. These lists must be prepared on forms supplied by the
Clerk's Office and must contain a brief description of the proposed
exhibit.

All exhibits shall be denominated by number.
Plaintiff shall use numbers 1 through 399; defendant shall use
numbers beginning at 400.

Bach exhibit must be physically tagged with the
appropriate colored sticker (pink for plaintiff, blue for
defendant and third-party defendants), and each exhibit must be
physically numbered prior to commencement of trial.

A complete copy of the exhibit list must be given
to the court reporter at the commencement of trial.

Parties do not have to mark at the pretrial

conference those exhibits that may only be used on cross-

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examination for impeachment of a witness or to refresh the
recollection of any witness.

Except for good cause, the Court will not allow
introduction into evidence of exhibits unless they are listed on
the exhibit list submitted at the pretrial conference.

COPIES OF EACH DOCUMENTARY EXHIBIT, PHOTOGRAPH, CHART OR
OTHER PAPER MUST BE DUPLICATED FOR THE ADVERSE PARTY AND EXCHANGED
AT THE PRETRIAL CONFERENCE UNLESS THE PROPONENT CERTIFIES THAT THE
DOCUMENT HAS ALREADY BEEN COPIED OR EXCHANGED DURING DISCOVERY, OR
IF THE DOCUMENT CANNOT BE COPIED, THAT IT IS AVAILABLE FOR
INSPECTION.

C. Exhibit Book:

Each side shall prepare an exhibit book containing copies
of the exhibits. This book will consist of a three-ring binder
with tabs for each exhibit. The proponent must prepare a binder
for each party, two binders for the Court, and a binder for use of
witnesses on the stand.

D. Charts, Demonstrative Evidence and Physical Evidence:

All charts not intended to be offered into evidence, other
demonstrative evidence or items of physical evidence, must be made
available for examination in Buffalo or some other mutually
agreeable place for a review at least two (2) business days before

they are offered in evidence or displayed to the jury.

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E. Expert Testimony:

The identity of all experts that will be called as
witnesses must be provided to the Court. The proponent must also
provide a brief summary of the ultimate opinions that will be
rendered by the expert. The testimony of experts will be limited
to the opinions and the grounds for each opinion set forth in
answers to expert interrogatories and expert reports. See Fed. R.
Civ. P. 26(a)(2)(B). The parties are responsible for taking steps
to timely supplement any expert disclosures to be in full
compliance with this Rule.

F. Deposition Testimony and Discovery Material:

 

Each side must prepare and exchange an itemized list of
deposition testimony (with page and line references), that it
intends to use in its direct case. The parties should attempt to
reconcile and resolve any disputes as to admissibility between the
time of the pretrial conference and trial.

At least two weeks in advance of trial, the objecting party
must file, in writing, a document listing its objections to the
opponent's deposition material and the basis for that objection.
If no objections are received, it will be deemed to be a waiver of
objections to the proffered deposition testimony. The Court must
be provided with complete copies of the depositions if there are

objections to be resolved.

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G. Damages:

Plaintiff must prepare an itemized statement of each
element of special damages.

H. Legal and Evidentiary Issues:

To the extent not addressed by the present order on the
motions in limine, all parties should prepare a detailed statement
as to issues of law involved in the case and any unusual questions
relative to the admissibility of evidence, trial procedure or
substantive issues. This submission should include legal
authority.

The Court expects the parties to raise any potential issues
at the pretrial conference, or as soon as they become evident, so
that the Court and the parties will have adequate time to consider
the issues.

I. Instruction Material:

At the pretrial conference, in a separate document,
plaintiff must supply the Court with two copies, and all parties
with one copy, of its proposed charge on the substantive matters
raised in the complaint — that is, the law relating to the causes
of action pleaded including damages.

Each charge should be listed on a separate page with
supporting authority or the source of the instruction listed at

the bottom.

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Each charge should also contain a notation at the bottom,
"Given ; Not Given ; Given in Substance "
If counsel requests "form" instructions from form books,

for example, Sand, Modern Federal Jury Instructions; Devitt &

 

Blackmar, Federal Jury Practice and Instructions, or New York

 

Pattern Jury Instruction (PJI), it will be sufficient to list the

 

section number and a brief description of the charge.

The Court has standard general instructions that it
routinely gives, but it is the burden of counsel to make specific
requests for special instructions relating to, for example,
evidentiary issues, limiting instructions, impeachment matters,
etc.

If defendant objects to plaintiff's proposed charge, or if
defendant has alternative charges to submit, they should be
submitted at least two weeks before commencement of the trial.
The foregoing notwithstanding, I certainly understand that matters
may develop during trial that will require instructions, but the
essential elements of the claims and defenses should be set forth
before trial commences. Preparation of instructions before trial
is important because the court, from time to time, may instruct
the jury on some issues in the case at the commencement of the
trial or even during the trial in addition to the full instructions

given at the conclusion of the trial.

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NOTES ABOUT TRIAL PROCEDURE:
1. Jury Selection:

Concerning jury selection, the parties should be familiar
with Local Rule 47(e). The Court will use the "struck jury system"
as described in Local Rule 47(e), pursuant to Rule 48 of the
Federal Rules of Civil Procedure, there will be no "alternate"
jurors and all jurors selected will participate in the verdict.

The Court will limit peremptory challenges as provided in
Local Rule 47; 28 U.S.C. § 1870; Fed. R. Civ. P. 48.

Plaintiff's counsel will exercise peremptory challenges
first by writing the name and number of the juror on the strike
sheet that will be provided. The strike sheet will then go to the
defendant who will make his/her own strike by writing the name and
number of a juror. The strike sheet will then come to the Court
who will announce the jurors that have been excused.

If a party chooses not to exercise a challenge during a
particular round, the party loses only that peremptory challenge
and may make other peremptory challenges in later rounds against
any prospective juror in the jury box.

2. Trial Schedule, Procedure, Exhibits, etc.:

It is expected that we will maximize jury time as much as

possible. This means that the Court will not engage in lengthy

bench conferences or conferences in chambers concerning matters

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that could have been resolved before the jury arrives, during the
luncheon recess or in the evening. When the jury is scheduled to
appear, it is expected that we will begin proof at that time.
Therefore, it is the burden of counsel, if they anticipate
problems, to notify the Court so that time can be set aside when
the jury is not present to resolve those issues. If necessary,
the Court may direct the parties to appear 30-60 minutes before
the jury arrives each day to resolve problems.

The parties are responsible for having witnesses
available. The Court will take witnesses out of turn to
accommodate witnesses. At least by the evening before each day's
session, counsel should advise opposing counsel and the Court of
those witnesses expected to be called the following day.

The Court may set time limits for opening statements and
closing arguments, and it is expected that counsel will adhere to
those limits.

Exhibits that have been received into evidence must be
kept on the table between the lecterns during court proceedings.
During evening recesses, each side will be responsible for
maintaining custody of its exhibits and returning them to Court

the next day (unless other arrangements are made with the Court).

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Counsel need not ask permission to approach a witness with
a document, but otherwise questioning should be done from no closer

than the lectern unless counsel receives permission from the Court.

SO ORDERED.

  

 

“JONATHAN W. FELDMAN
NITED STATES MAGISTRATE JUDGE

Dated: Rochester, New York
April 24, 2021

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